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Addendum A __

 

Bank

Date

Produced by

Bank

Shulman
Entities

Unrelated
Entities/
Persons

Warren
Steel

Halliwel

Related
Entities/
Persons

 

Bank of America

04/09/2015 |

28 oO

 

BNP Paribas

02/18/2015

 

BNYM.

03/12/2015 |

 

Chase

02/25/2015

329 [| 0 |

 

Citibank

02/03/2015 |

 

Commerzbank

01/30/2015

 

Deutsche Bank

11/02/2015

 

HSBC

02/18/2015

 

Royal Bank of
Scotland

03/23/2015

 

Standard chartered

01/26/2015

ec

 

 

UBS

02/02/2015

 

 

TOTAL

 

 

 

 

697

 

 

 

 

 

 

 
